Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 1 of 20 PageID 124




                  Attachment Two
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 2 of 20 PageID 125
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 1 of 19


                         No. 21-13963
       ════════════════════════════════════════
              UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT
                    ──────────────────────────────
                       UNITED STATES OF AMERICA,
                             Plaintiff-Appellee,
                                      v.
                           EUGENE JACKSON,
                            Defendant-Appellant.
                    ──────────────────────────────
              On Appeal from the United States District Court
                    for the Southern District of Florida
                     Case No. 1:19-cr-20546-KMW-1
       ════════════════════════════════════════
     BRIEF AMICI CURIAE OF ALABAMA, FLORIDA, AND GEORGIA
     IN SUPPORT OF PANEL REHEARING OR REHEARING EN BANC
       ════════════════════════════════════════

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           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 2 of 19
                                                  United States v. Jackson, No. 21-13963

                C E RT I F I C AT E O F I N T E R E S T E D P E R S O N S A N D
                    C O R P O R AT E D I S C L O S U R E S TAT E M E N T

        Under Eleventh Circuit Rule 26.1, undersigned counsel certifies that the fol-

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                                          C-1 of 2
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 4 of 20 PageID 127
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 3 of 19
                                         United States v. Jackson, No. 21-13963

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                                   C-2 of 2
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 5 of 20 PageID 128
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 4 of 19



                                             TA B L E     OF    CONTENTS


  Certificate of Interested Persons and Corporate Disclosure Statement .................. C1

  Table of C o n t e n t s ................................................................................................... i

  Table of Authorities .................................................................................................. ii

  Interest of Amici Curiae .............................................................................................1

  BACKGROUND .......................................................................................................2

  SUMMARY OF ARGUMENT .................................................................................5

  ARGUMENT .............................................................................................................6

  I.       The Controlled Substances Act Schedule That Determines Whether A
           Previous State Conviction Is A “Serious Drug Offense” Under ACCA
           Is The Schedule In Effect At The Time Of The Previous Conviction. ...........6

  II.      The Panel’s Misreading Of ACCA Would Make Numerous State Drug
           Convictions “Disappear” For ACCA Purposes. ............................................10

  CONCLUSION ........................................................................................................11




                                                                i
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 6 of 20 PageID 129
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 5 of 19



                                        TABLE        OF    AUTHORITIES

  Cases

  Gordon v. United States,
    962 F.3d 1344 (11th Cir. 2020) ......................................................................9, 11

  McNeill v. United States,
    563 U.S. 816 (2011) .................................................................................... passim

  Nijhawan v. Holder,
     557 U.S. 29 (2009) ............................................................................................6, 8

  Shular v. United States,
     140 S. Ct. 779 (2020) ............................................................................................2

  Taylor v. United States,
     495 U.S. 575 (1990) ..............................................................................................9

  United States v. Rodriquez,
    553 U.S. 377 (2008) ..............................................................................................1


  Statutes

  8 U.S.C. §1101(a)(43)(B) ..........................................................................................9

  18 U.S.C. §921(a)(20) ..............................................................................................10

  18 U.S.C. §922(g) ..................................................................................................2, 6

  18 U.S.C. §924(e)(1) ..................................................................................... 2, 6, 7, 8

  18 U.S.C. §924(e)(2)(A) ................................................................................... 2, 6, 8

  18 U.S.C. §924(e)(2)(A)(i) ....................................................................................6, 8

  18 U.S.C. §924(e)(2)(A)(ii) .......................................................................... 3, 4, 6, 7

  21 U.S.C. 801 et seq...................................................................................................2


                                                             ii
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 7 of 20 PageID 130
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 6 of 19




  21 U.S.C. 802 .........................................................................................................2, 4

  21 U.S.C. 951 et seq...................................................................................................2

  Ala. Code §20-2-20(c) .............................................................................................11


  Rules

  11th Cir. R. 35-5 ........................................................................................................5


  Other Authorities

  U.S. Sentencing Comm’n, Federal Armed Career Criminals:
     Prevalence, Patterns and Pathways at 8 (Mar. 2021),
     tinyurl.com/ys5jn769 ............................................................................................1




                                                              iii
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 8 of 20 PageID 131
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 7 of 19



                           INTEREST      OF   AMICI CURIAE

        Amici are the States of Alabama, Florida, and Georgia. States have a vital

  interest in protecting their citizens from illicit drugs and violent crime. To that end,

  amici routinely partner with the federal government to investigate and prosecute

  dangerous criminals. The Armed Career Criminal Act (ACCA) is an important tool

  in those efforts.

        ACCA ensures that criminals who illegally possess firearms face enhanced

  sentences if they have been previously convicted of at least three violent felonies or

  serious drug offenses under federal or state law. ACCA reflects the reasonable judg-

  ment that a recidivist’s “subsequent offense is … more serious because it portends

  greater future danger and therefore warrants an increased sentence for purposes of

  deterrence and incapacitation.” United States v. Rodriquez, 553 U.S. 377, 385

  (2008). And that judgment is backed up by data. The U.S. Sentencing Commission

  recently reported that of all armed career criminals released between 2009 and 2011,

  59 percent were rearrested within 8 years. U.S. Sentencing Comm’n, Federal Armed

  Career Criminals: Prevalence, Patterns and Pathways at 8 (Mar. 2021), ti-

  nyurl.com/ys5jn769.

        Because the panel’s decision misconstrues ACCA and threatens to render it

  inapplicable to many serious drug offenders in this Circuit, the States urge the Court

  to rehear this appeal either as a panel or en banc.


                                              1
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 9 of 20 PageID 132
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 8 of 19



                                  BACKGROUND

        1. ACCA was enacted to take dangerous career criminals off the street. Thus,

  when an offender has committed a federal gun crime under 18 U.S.C. §922(g), he

  faces an enhanced sentence if he has at least “three previous convictions by any

  court”—state or federal—“for a violent felony or a serious drug offense, or both.”

  18 U.S.C. §924(e)(1). The definition of “serious drug offense” reflects Congress’

  intent to ascribe similar consequences to similar conduct, whether the conviction

  was secured by federal or state authorities:

        the term “serious drug offense” means--

        (i) an offense under the Controlled Substances Act (21 U.S.C. 801 et
        seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951
        et seq.), or chapter 705 of title 46 for which a maximum term of impris-
        onment of ten years or more is prescribed by law; or

        (ii) an offense under State law, involving manufacturing, distributing,
        or possessing with intent to manufacture or distribute, a controlled sub-
        stance (as defined in section 102 of the Controlled Substances Act (21
        U.S.C. 802)), for which a maximum term of imprisonment of ten years
        or more is prescribed by law;

  18 U.S.C. §924(e)(2)(A).

        To determine whether a state offense qualifies under ACCA, courts apply a

  “categorical approach” by which courts consider only “the statutory definitions of

  the prior offenses,” not “the particular facts underlying the prior convictions nor the

  label a State assigns to the crimes.” Shular v. United States, 140 S. Ct. 779, 783

  (2020) (cleaned up). If an element of a state drug trafficking conviction stretches

                                            2
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 10 of 20 PageID 133
            USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 9 of 19



  more broadly than the requirements of §924(e)(2)(A)(ii), that state law crime is not

  a “serious drug offense.” Thus, as relevant here, if a state conviction for trafficking

  an illegal drug could have been secured even if the drug at issue was not “a controlled

  substance … as defined in section 102 of the Controlled Substances Act,”

  §924(e)(2)(A)(ii), then the “previous conviction” is not for a “serious drug offense.”

           2. This case involves a repeat offender named Eugene Jackson. By the time

  Jackson was convicted in 2017 for illegally possessing a firearm, he had already

  been convicted of numerous felonies in Florida, including two “violent felonies”

  under ACCA. Op. 4-5.1 This appeal concerns two of his prior drug convictions—a

  1998 Florida conviction for the sale of cocaine and a 2004 Florida conviction for

  possession with intent to sell cocaine—specifically, whether those “previous con-

  victions” were “serious drug offenses.”

           The Supreme Court has explained that “[t]he only way to answer this back-

  ward-looking question is to consult the law that applied at the time of that convic-

  tion.” McNeill v. United States, 563 U.S. 816, 820 (2011). Thus, the panel here

  looked to Florida law in 1998 and 2004 to confirm that Jackson’s convictions in-

  volved manufacturing, distributing, or possessing with intent to manufacture or dis-

  tribute an illegal drug and could have resulted in 10 years’ imprisonment when he

  was convicted.


  1
      “Op.” cites are to the slip opinion pagination of the Court’s June 10, 2022 opinion.
                                               3
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 11 of 20 PageID 134
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 10 of 19



        But to determine whether the offenses necessarily involved “a controlled sub-

  stance (as defined in section 102 of the Controlled Substances Act (21 U.S.C. 802)),”

  §924(e)(2)(A)(ii), the panel took a different tack. In its view, this part of the defini-

  tion of “serious drug offense” required the Court to look to what controlled sub-

  stances were banned by the CSA at the time Jackson committed his firearm offense

  in 2017, not at the time of his “previous convictions.” Op. 8-10.

        That made all the difference here because of a change in the federal drug

  schedule in 2015. There is no question that in 1998 and 2004, Florida’s definition of

  “cocaine” lined up with the federal schedule in effect at those times. But years later,

  it was discovered that a cocaine analogue called ioflupane (123I) (hereinafter “io-

  flupane”) “has value in potentially diagnosing Parkinson’s Disease,” so in 2015, the

  U.S. Attorney General removed ioflupane from the federal drug schedule, narrowing

  its scope. Op. 12-13. Accordingly, the panel held that because it is theoretically pos-

  sible that Jackson was convicted for dealing ioflupane in 1998 and 2004, his drug

  convictions ceased to be “serious drug offenses” as of 2015 and his 2017 firearm

  conviction could not be enhanced under ACCA. Op. 17-18.

        The panel’s published opinion was released on June 10, 2022. On June 13, a

  judge of this Court withheld issuance of the mandate. On June 22, the United States

  moved for an extension of time to file a request for rehearing so the United States

  could “determine if further review is warranted to correct a ‘precedent-setting error

                                             4
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 12 of 20 PageID 135
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 11 of 19



  of exceptional importance.’” See Mot. for Enlargement of Time at 2 (quoting 11th

  Cir. R. 35-3). The United States noted that “[t]he panel decision relied on due-pro-

  cess and fair-notice considerations and did not consider the text of the statute.” Id.

                          S U MM A RY O F A R G U M E N T

        ACCA is designed to protect the public from dangerous repeat offenders who

  have “previous convictions” for “violent felon[ies]” and “serious drug offense[s].”

  Assessing whether a previous conviction was for a serious drug offense is a back-

  ward-looking inquiry. What is relevant is the severity of the offense when it was

  committed. But under the panel’s approach, crimes that were indisputably “serious

  drug offenses” under state law when they were committed will “‘disappear’ entirely

  for ACCA purposes” merely because the federal government has removed a minor

  component of cocaine from the federal schedule of prohibited substances. McNeill,

  563 U.S. at 822. This makes little sense, for “[a] defendant’s history of criminal

  activity—and the culpability and dangerousness that such history demonstrates—

  does not cease to exist when” the federal government later delists a component of an

  illicit substance trafficked by drug dealers. Id. at 823. The panel’s decision conflicts

  with the text and purpose of ACCA and will turn loose too soon some of the most

  prolific criminal offenders in this Circuit. The Court should rehear this appeal.




                                             5
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 13 of 20 PageID 136
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 12 of 19



                                    ARGUMENT

  I.    The Controlled Substances Act Schedule That Determines Whether A
        Previous State Conviction Is A “Serious Drug Offense” Under ACCA Is
        The Schedule In Effect At The Time Of The Previous Conviction.

        When an offender has committed a federal gun crime under 18 U.S.C.

  §922(g), he is subject to sentence enhancement if he has three or more “previous

  convictions … for a violent felony or a serious drug offense, or both.” 18 U.S.C.

  §924(e)(1). A “serious drug offense” is defined in 18 U.S.C. §924(e)(2)(A). That

  offense must have made the defendant eligible for a maximum sentence of ten years

  or more. Id. And the offense, whether state or federal, must have involved a “con-

  trolled substance … as defined in” the CSA. §924(e)(2)(A)(ii); see also

  §924(e)(2)(A)(i) (“an offense under the” CSA).

        As the Supreme Court has recognized, when assessing “whether a ‘previous

  convictio[n]’ was for a serious drug offense,” “[t]he only way to answer this back-

  ward-looking question is to consult the law that applied at the time of that convic-

  tion.” McNeill, 563 U.S. at 820. While the McNeill Court focused on the maximum-

  sentence provision of §924(e)(2)(A)(ii), where “Congress uses similar statutory lan-

  guage and similar statutory structure in two adjoining provisions, it normally intends

  similar interpretations.” Nijhawan v. Holder, 557 U.S. 29, 39 (2009).

        Instead of interpreting all components of the definition similarly, the panel

  ruled that the phrase “controlled substance … as defined in section 102 of the


                                            6
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 14 of 20 PageID 137
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 13 of 19



  Controlled Substances Act” requires looking not to the time of the previous convic-

  tion but to the time of the later gun crime—in this case, 2017. Op. 9-11. Then, the

  panel determined that because Jackson’s 1998 and 2004 convictions could have been

  for distributing ioflupane and ioflupane was no longer on the CSA schedule as of

  2015, Jackson’s 1998 and 2004 convictions ceased to be “serious drug offenses” as

  of 2015. Op. 17-18. The panel declared that “McNeill’s reasoning, which relied on

  the language ‘previous convictions,’ has no application here.” Op. 22.

        Respectfully, that was error. The language of “previous convictions” applies

  to all of §924(e)(2)(A)(ii)’s definition of “serious drug offense.” The reason for de-

  fining “serious drug offense” is to determine whether the defendant “has three pre-

  vious convictions” for such offenses. §924(e)(1). And a drug trafficking conviction

  in 1998 that was serious in 1998 remains serious today, even if the same conduct in

  2017 might have resulted in different consequences. “A defendant’s history of crim-

  inal activity—and the culpability and dangerousness that such history demon-

  strates—does not cease to exist when a State reformulates its criminal statutes in a

  way that prevents precise translation of the old conviction into the new statutes.”

  McNeill, 563 U.S. at 823. The same is true as to changes to the federal drug schedule.

        The panel’s decision creates other anomalies too. Under the panel’s approach,

  had Jackson’s 1998 and 2004 crimes been charged as federal drug crimes instead of

  state drug crimes, the convictions would presumably still be “serious drug offenses”

                                            7
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 15 of 20 PageID 138
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 14 of 19



  today. They would have remained “previous convictions” for “offense[s] under the

  Controlled Substances Act,” 18 U.S.C. §924(e)(2)(A)(i), even after the federal drug

  schedule was amended in 2015. But because Florida secured the convictions for

  Jackson’s offenses in 1998 and 2004, equally culpable conduct is treated as less “se-

  rious,” despite §924(e)(1) applying to “previous convictions by any court.”

        The present-tense language in the statute does not demand that disjointed re-

  sult. In McNeill, the Court held that “[h]aving repeatedly looked to the historical

  statute of conviction in the context of violent felonies, we see no reason to interpret

  ‘serious drug offense[s]’ in the adjacent section of the same statute any differently.”

  Id. Given that adjoining statutory language should be interpreted similarly—and that

  the Supreme Court has already construed similar provisions in ACCA this way—the

  present tense language of any portion of §924(e) poses no obstacle to answering the

  backward-looking question concerning previous convictions. Nijhawan, 557 U.S. at

  39. “Congress used the present tense to refer to past convictions.” McNeill, 563 U.S.

  at 822.

        The panel believed that its interpretation is mandated to provide fair notice

  under the Fifth Amendment’s Due Process Clause, lest defendants not know that

  their “conduct that falls outside the statute’s parameters brings potential criminal

  consequences” in the form of a harsher sentence. Op. 10. But that begs the question

  whether the previous-convictions inquiry is fully, or only partially, backward-

                                            8
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 16 of 20 PageID 139
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 15 of 19



  looking. As explained above, when determining whether a previous conviction was

  for a serious drug crime, one naturally looks to whether the federal government

  banned the drug in question at the time of conviction. Jackson thus had notice that

  he was an armed career criminal when he decided to illegally possess a firearm in

  2017. Cf. Taylor v. United States, 495 U.S. 575, 596 (1990) (“[T]he rule of lenity …

  cannot dictate an implausible interpretation of a statute….”).

        Indeed, this Court saw no Due Process problem when interpreting a nearly

  identical statute in Gordon v. United States, 962 F.3d 1344 (11th Cir. 2020). That

  case involved a provision of immigration law that makes removable “noncitizen[s]

  convicted of … a ‘drug trafficking crime,’ which is defined as ‘any felony punisha-

  ble under the Controlled Substances Act.’” Id. at 1347 (quoting 8 U.S.C.

  §1101(a)(43)(B)). Gordon argued that his 2003 Georgia conviction for possession

  with intent to distribute ecstasy was not “punishable under the Controlled Substances

  Act” because the Court should “compare his conviction with the federal controlled

  substances schedules in effect at the time of his removal proceedings rather than

  those in effect at the time of his conviction.” Id. at 1351 n.4. Gordon was “incorrect.”

  Id. When “assessing whether a noncitizen’s conviction qualifies as an aggravated

  felony, we compare his offense of conviction to the CSA schedules in effect when

  he was convicted.” Id. The same reasoning should apply to ACCA.




                                             9
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 17 of 20 PageID 140
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 16 of 19



        Finally, the panel’s ruling would conflict with how Congress expressly treats

  previous convictions elsewhere in ACCA. As the McNeill Court explained, “Con-

  gress based ACCA’s sentencing enhancement on prior convictions and could not

  have expected courts to treat those convictions as if they had simply disappeared.”

  563 U.S. at 823. “To the contrary, Congress has expressly directed that a prior vio-

  lent felony conviction remains a ‘conviction’ unless it has been ‘expunged, or set

  aside or [the] person has been pardoned or has had civil rights restored.’” Id. (quoting

  18 U.S.C. §921(a)(20)). Thus, the entire “previous convictions” inquiry should be

  “backward-looking.” This approach gives effect to the plain meaning of ACCA and

  avoids the absurd result of disappearing convictions.

  II.   The Panel’s Misreading Of ACCA Would Make Numerous State Drug
        Convictions “Disappear” For ACCA Purposes.

        The panel’s decision threatens to make numerous drug convictions that were

  previously “serious” in every sense of the word no longer “serious drug offenses”

  not just in Florida, but in Alabama and Georgia as well. As the panel noted, Florida

  did not update its drug schedule to exempt ioflupane until 2017, Op. 16, which pre-

  sumably means that many Florida cocaine trafficking convictions preceding that date

  ceased to be “serious” as of 2015.

        Alabama convictions likewise face possible erasure. Alabama law provides

  that if there is a change in the federal drug schedule, the State Board of Health will

  either update the State’s schedule to mirror the federal schedule or explain within
                                            10
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 18 of 20 PageID 141
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 17 of 19



  thirty days its objection to the federal approach and take comments before reaching

  a final decision. Ala. Code §20-2-20(c). One would think this would be enough to

  allow the State to maintain drug laws that are not categorically overbroad for ACCA

  purposes. But under the panel’s approach, Alabama comes up short.

        As for Georgia, this Court’s Gordon decision suggests that while amendments

  to the federal drug schedule won’t benefit noncitizen drug traffickers who face re-

  moval for past serious drug crimes, such changes could redound to the benefit of

  armed career criminals seeking to avoid an ACCA enhancement. See 962 F.3d at

  1351 n.4.

        In McNeill, the Supreme Court eschewed a reading of ACCA that could make

  “a prior conviction … ‘disappear’ entirely for ACCA purposes.” Id. But that is pre-

  cisely the outcome of the panel’s decision: minor edits to the federal drug schedule

  would make previous convictions disappear. To avoid that absurd result and ensure

  that serious serial offenders receive the sentences Congress deemed necessary, the

  Court should rehear this appeal.

                                     C O N C L U SI O N

        The panel or en banc Court should rehear this appeal.




                                            11
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 19 of 20 PageID 142
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 18 of 19



                               Respectfully submitted this 1st day of July, 2022.

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                                         12
Case 8:21-cv-00539-SDM-TGW Document 12-2 Filed 07/11/22 Page 20 of 20 PageID 143
           USCA11 Case: 21-13963 Date Filed: 07/01/2022 Page: 19 of 19



                      C E RT I F I C AT E   OF   FILING   AND    S E RV I C E

        I hereby certify that on July 1, 2022, I filed the foregoing motion electroni-

  cally using the Court’s CM/ECF system, which will serve all counsel of record.

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                                                 Edmund G. LaCour Jr.
                                                 Counsel for State of Alabama



      C E RT I F I C AT E O F C O M P L I A N C E W I T H T Y P E - V O L U M E L I M I T ,
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